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Exhibit 5
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* ALSO ADMITTED IN CA

November | 1, 2013 ** ALSO ADMITTED IN KY
*** ONLY ADMITTED IN OH

VIA UNITED STATES and ELECTRONIC MAIL

Chris Tardio

Gideon Cooper & Essary

315 Deaderick St., Suite 1100
Nashville, Tennessee 37238

Re: New England Compounding Center Litigation, MDL No. 2419
Complaints filed in United States District Court for the
Middle District of Tennessee

Dear Chris:

As you know we served discovery in the above-identified matter on behalf of the
Plaintiffs’ Steering Committee (“PSC”) on October 9, 2013. Since then the parties have
exchanged letters and had two in-person meet and confer sessions regarding the scope of
discovery. This letter is meant to address three major points that have arisen during these
discussions.

You have requested the PSC identify the differences in the recent discovery served and
the discovery served in the Wayne Reed case. After initially reviewing these differences, we
realized that the discovery we recently served took into consideration many of the issues brought
up in the meet and confer process in state court, and accordingly, the easiest way forward is for
you to simply answer all discovery responses posed on October 9, 2013, regardless of whether a
given request is the exact same request served in the state court litigation.

Next, you have requested that the PSC provide a list of information technology questions
to aid a discussion on electronic discovery issues. First, as it relates to the quarantined emails
from Saint Thomas Outpatient Neurosurgical Center/Howell Allen, the PSC has determined that
given the size of the litigation and the fact that only 50,000 non-de-duplicated emails have been
quarantined, a search protocol for these emails is unnecessary. We suggest that you de-dupe
these emails, review all of them, and produce those that are responsive and non-privileged. To
the extent that you withhold an otherwise producible email on the basis of privilege, please
produce a privilege log to allow us to properly assess your claim of privilege. As you are well
aware, document processors like DSI, Inc. are readily available to help with the de-duping
process.

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With respect to the searching of other computer systems, here is the information we need:

The number of custodians that received a litigation-hold letter;

The number of computer document repositories subject to the litigation-hold letter;

The type of document management system maintained by each custodian (if any);

The type of server on which the document management system is maintained;

The type of server on which emails are maintained (if different from no. 3);

The operating system in use for each personal computer subject to the litigation hold

letter;

7. The time you anticipate it would take to search an individual custodian’s personal
computer;

8. The capacity for each computer/server to be boolean searched.

AW PWN

With regard to searching these electronic discovery repositories, we suggest searching all hard
drives and servers with the following terms:

Compound* McClendon
"health alert network" Medication
"shut-down" Meningitis
.ZOV Methylprednisolone
“Department of health” MPA

“New England” NECC
“Patient list” Notarianni
Adverse Notif*
advertise* Outbreak
Beckham Dickerson
BUD Pharm*
Cadden Price
Candace Smith Pricing
CDC Budget
Clint — procure*
Cluster public health
Contamin* Quality
death Recall*
depo-medrol Rudolph
DeZwaan Safety
Dose Shortage
Epidural Steril*
Expense Steroid
FASCA Supplier
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FDA symptom*
Fungal Vial
Giamei Sandoz
guideline Pfizer
headache Preservative
Investigat* Profit
Joint Commission CuraScript
Kainer Multi-dose
Generic Rachel Rome
TEVA Dexamethasone
Framingham New England
Woburn MSM
Boston Conig*
Single-dose Fung*
betamethasone Mening*
Kinkel Depo*
Latham Metha*
Manufacturer Cont* w/3 lot
Massachusetts USP
Pharmacy-mixed Culc*
Scham* 80mg
Close* Bulk
Board

Please let us know the answers to the above questions and depending on those responses
we may need to revise these search terms.

Finally, with regard to an extension on your written discovery, we agree to extend your
time to respond to that discovery until November 25, 2013. Given that the discovery we served
is substantially similar to the work you have already done in state court litigation, it seems this is
more than reasonable. Further, we are happy to discuss a rolling production of documents given
the further searching that needs to take place.

Sin perely,

TSB operas) |

. GERARD STRANCH, IV 7) Pl
Member of PSC and Tennessee Chair L/L (7

cc: Kristen Johnson Parker
